Case 1:18-cv-00411-CWD Document 38

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Attorney for Plaintiff

Filed 11/15/19 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

 

DAVID M. GRANT
Plaintiff,

Vv.

CITY OF FRUITLAND, a political
subdivision of the State of Idaho,
FRUITLAND CITY POLICE
DEPARTMENT, a department of the City
of Fruitland, BENJAMIN KEY, in his
individual and official capacity, J.D.
HUFF, in his individual and official
capacity, CITY OF PAYETTE, a political
subdivision of the State of Idaho,
PAYETTE POLICE DEPARTMENT, a
department of the City of Payette, BEN
BRANHAM, in his individual and official
capacity, DUANE HIGLEY, in his
individual and official capacity, MARK
CLARK, in his individual and official
capacity, JOHN or JANE DOE #1-10
Employees of the City of Fruitland, the
City of Payette, Payette County or Payette
County as a political subdivision of the
State of Idaho

Defendant.

 

Case No. 1:18-CV-00411-BLW

STATEMENT OF DEATH OF DAVID
M. GRANT

STATEMENT OF DEATH OF PLAINTIFF DAVID M. GRANT
Case 1:18-cv-00411-CWD Document 38 Filed 11/15/19 Page 2 of 5

COMES NOW Bruce S$. Bistline of the law of Johnson & Monteleone, L.L.P., and
on behalf of Sandra Grant, individually as the mother of David M. Grant and as Personal
Representative of the Estate of David M. Grant, David T Grant, as the father of David M
Grant, Jeffrey Grant, as the brother of David M. Grant, Kristal Moore, as the sister of David
M. Grant and Kelsey Grant, as the daughter of David M. Grant, hereby gives the Court, all
parties and all heirs of David M. Grant that as demonstrated by the attached Certificate of
Death, that on the 24th day of August, 2019, David M. Grant, Plaintiff herein, died from
conditions attributable to the injuries which resulted from the conduct at issue in this civil
rights action — with the effect that the claims for damages arising from the violation of the
civil rights of David M. Grant would appear not to be extinguished subject to fulfilment of
the requirements of F.R.C.P. Rule 25. See, Van Orden, vy. Caribou County, 2011 WL
841438, in the United States District Court for the District of Idaho No. 4:10-CV-385-
BLW (2011).

Respectfully submitted this 1s day of November, 2019.

JOHNSON & MONTELEONE, L.L.P.

are" Mr 9 5. Bye

Bruce S. Bistline

Attorneys for: Sandra Grant, individually and as Personal
Representative of the Estate of David M. Grant, David T
Grant, Jeffrey Grant, Kristal Moore, and Kelsey Grant.

STATEMENT OF DEATH OF PLAINTIFF DAVID M. GRANT - 2
Case 1:18-cv-00411-CWD Document 38 Filed 11/15/19 Page 3 of 5

CERTIFICATE OF MAILING, DELIVERY, OR FACSIMILE TRANSMISSION

I CERTIFY that on November sth 2019, I caused a true and correct copy of the

foregoing document to be:

 

Q) Mailed
QC) Hand Delivered
OQ) CM/ECF Electronic Filing
Q) iCourt E-File
OC) Transmitted Fax Machine
to:
Transmitted Via E-Mail
to: mje@melawfirm.net
steve(@melawfirm.net
marisa@melawfirm.net

 

Michael J. Elia, Esq.

Steven R. Kraft, Esq.

Marisa S. Crecelius, Esq.

MOORE ELIA KRAFT & HALL, L.L.P.
P. O. Box 6756

Boise, ID 83707

As Attorneys for:

CITY OF FRUITLAND, FRUITLAND CITY
POLICE DEPARTMENT, BENJAMIN KEY,
J.D. HUFF,

 

U) Mailed

CQ) Hand Delivered

U CM/ECF Electronic Filing

CL} iCourt E-File

) Transmitted Fax Machine
to:

Transmitted Via E-Mail

to: mkane(@ktlaw.net

Michael J. Kane, Esq.

MICHAEL KANE & ASSOCIATES, P.L.L.C.
4355 West Emerald Street, Ste. 190

P. O. box 2865

Boise, ID 83701-2865

As Attormeys for

CITY OF PAYETTE, PAYETTE POLICE
DEPARTMENT. BEN BRANHAM, DUANE
HIGLEY, MARK CLARK,

 

Mailed subject to an agreement to
sign and return waiver of personal
service.

Transmitted Via E-Mail

to: sandyg64@frontier.com

Sandra Grant (mother and Personal
Representative for the Estate of David M. Grant)
P.O. Box, 124,

Harrison Idaho,83833

 

[x]Mailed subject to an agreement to sign
and return waiver of personal service
Transmitted Via E-Mail c/o Sandra
Grant

to: sandyg64@frontier.com

David T. Grant.(father)
P.O. Box, 124,
Harrison Idaho,83833

 

Mailed subject to an agreement to
sign and return waiver of personal service
Transmitted Via E-Mail

to: Jeffreyg4205@gmail.com

 

 

Jeffrey Grant (only male sibling)
4205 Bonanza Circle,
Winnemucca, Nevada, 89445

 

STATEMENT OF DEATH OF PLAINTIFF DAVID M. GRANT

 

 
Case 1:18-cv-00411-CWD Document 38 Filed 11/15/19 Page 4 of 5

 

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sign and return waiver of personal service
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to: kristalm30@aol.com

Kristal Moore (only female sibling)
56659 S. Hwy. 97,
St. Maries Idaho, 83861

 

Mailed subject to an agreement to
sign and return waiver of personal service
Transmitted Via E-Mail c/o Sandra
Grant

to: Kelseyy.nicole94@gmail.com

 

 

Kelsey Grant (only child)
1521 N. 9th Street,
Coeur d’’ Alene, Idaho, 83814

 

JOHNSON & MONTELEONE, L.L.P.

“Dans S- BQ

 

Bruce S. Bistline

Attorneys for: Sandra Grant, individually and as
Personal Representative of the Estate of David M.
Grant, David T Grant, Jeffrey Grant, Kristal Moore,
and Kelsey Grant.

STATEMENT OF DEATH OF PLAINTIFF DAVID M. GRANT

 
‘STATE 0 O “IDAHO
IDAHO DEPARTMENT OF’ HEALTH AND. WELFARE
BUREAU OF Pa RECORDS AND HEALTH STATISTICS:

Dale Filed _ AUGUST 28, 2 019 i slate Flle-No: Bois Ly 09195

 

( DECEDENT: LEGAL NAME

DAVID MICHAEL GRANT

 

SEX SOCIAL SECURMY. NUMBER a= age a ae : | DATE OF BIRTH

MALE -88- | 49 YEARS =f APRIL 02, 1970

 

 

 

BIRTHPLACE Mie ee i age PLAGE-OFASSIDENCE
ST. MARIES, IDAHO ‘ NAMPA, IDAHO

MARITAL STATUS AT TIME OF DEATH f NAME OF SURVIVING SPOUSE (if wifo, maldan name) TES BASE ENE EVERIN

| DIVORCED ! J Sp eee oS Pree _— NO

 

 

 

 

 

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DAVID THOMAS GRANT a Sey es ae tt uy | WASHINGTON

 

MOTHER = MAIDEN NAME : * mee rite TRIRTHPLAGE eS
| SANDRA LEE BURTON ~~ eh CALIFORNIA

 

 

(TiETHODOF DISPOSTION RCTS
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NAME AND ADDRESS OF FUNERAL FACILITY

ALL VALLEY CREMATION & SU REREY NAMPA, IDAHO

 

( OATE OF DEATH TIME OF -QEATH: i hs) GATY.TOWN OR LOCATION OF DEATH COUNTY OF DEATH

AUG. 24, 2019 | 3:30 A.M, | °°. >| NAMPA, IDAHO) CANYON

 

 

 

 

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| DUE TO (or ae a consequence of):

“GUNSHOT TO. NECK ma SEH Sg ~-& YEARS

 

OTHER SIGNIFICANT CONDITIONS CONTRIBUTING TO. DEATH but not teen tee the underlying cayae given above War an aurorey
NONE STATED |. Sopa Ess pC ar ae as NO

 

 

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HOMICIDE : ‘JENNIFER CRAWFORD 30 Be Ae 4 “CORONER

 

 

 

CORONER SUBSEQUENT CEATIFICATION IF NECESSARY

 

TIVE OF INJURY. ¢ o = oe | PLACE OF RIA

 

JANUARY 24, 2016 . | 3:30 ALM.  ) $e8q EXIT 32"
LOCATION WHERE INUURY OCCURRED ‘ 7

I-84 EXIT :3, FRUITLAND, IDAHO

 

OESCRIPTION OF HOW INJURY OCCURRED
SHOT BY LAW ENFORCEMENT

 

 

 

SUPPLEMENTAL INFORMATION ADDED: ‘070472019.

This is a trie sift correct rapt reduction of ihe document ANGE t PST re jaced
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NOVEMBER-1'3, soe
DATE ISSUED ‘S Ui
| “JAMES B. ;, AYDELOTTE

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“aisplaying ete a of the. ane ee “AL ls gy . ‘STATE REGISTRAR

 

PEN CaM ai fit

 
